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                                         toXcel
                                    Life Sciences
                           Toxicology & Regulatory Affairs

                                    Connie B. Welch, DMin
                                       Vice President


SUMMARY

Over 24 years of exemplary management/leadership experience in both the Federal and private
sector as summarized below:

       30+ years of experience interpreting and implementing environmental laws and
        regulations governing pesticides and toxic chemicals (the Federal Insecticide Fungicide
        and Rodenticide Act (FIFRA), the Federal Food, Drug and Cosmetic Act (FFDCA), the
        Food Quality Protection Act (FQPA), the Safe Drinking Water Act (SDWA), the Toxic
        Substances Control Act (TSCA), and the Resource Conservation and Recovery Act
        (RCRA)
       Over 26 years experience as a national and international speaker, representing the
        United States on controversial worldwide technical and regulatory issues.
       Extensive experience as a project manager (Federal and non-profit sector) and
        consultant (team management, project management, financial management).
       Successfully led an international team of scientist and regulatory staff to the cancellation
        of arsenic compounds used in treated wood products for the construction of children’s
        playground equipment and other residential uses
       Met all Congressional mandates/deadlines for the scientific and regulatory review of
        chemicals and/or pesticide products used to provide the general public with safe drinking
        water, food, and hospital/home health care.
       Facilitated the issuance of the first Reregistration Eligibility (Scientific and Regulatory
        Review) Documents for the new Antimicrobial Division in the Office of Pesticide
        Programs, US Environmental Protection Agency (USEPA)
       Successfully managed an estimated $1.5 million operational budget to meet the
        program’s goals and objects
       Successfully directed and coached the first multidisciplinary team of scientists and
        regulatory staff in a Regulatory Division at the US EPA
       Served as the USEPA Expert on the leading and most dangerous chemical warfare
        agents.

RELATED PROFESSIONAL EXPERIENCE
toXcel, LLC
Gainesville, VA
Vice President                                           January, 2016- Present
Executive Director, Product Registration                 August, 2012 – December, 2015
    Assist/represent the chemical industry (in the US and abroad) with EPA/FDA
       registration/approval requirements, environmental laws and regulations (PRIA, FIFRA,
       FQPA, FFDCA, TSCA) concerning chemicals sold and distributed in the US.
    Consult with clients on project management issues in US and abroad
    Direct junior and mid-level staff (scientist, regulatory) regarding client registration
       projects/issues and other special projects.
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Connie Welch & Associates
Woodbridge, VA
Principal                                                    April, 2008-August, 2012
     Assist/represent the chemical industry (in the US and abroad) with registration
       requirements, environmental laws and regulations (FIFRA, FQPA, FFDCA, TSCA, RCRA)
       concerning chemicals sold and distributed in the US.
     Consult with clients on management and/or project management issues in US and abroad
     Business Coach

ChemReg International, LLC
Woodbridge, VA
Global Regulatory Consultant                                       March, 2005 –July, 2006
    Served as a Global Regulatory Consultant representing clients in the chemical industry
       (both US and abroad) seeking registration/approval from the U.S. Environmental
       Protection Agency on chemical products for use by the hospitals (hospital disinfectants
       and sanitizers), the restaurant industry, and the agricultural industry to kill bacteria and
       food-borne pathogens.
    Served as Facilitator/Instructor for Pesticide Law/Regulation Courses
    Advised clients on environmental laws and regulations (FIFRA, FFDCA, TSCA, RCRA,
       SDWA) regarding the use of pesticides and toxic chemicals sold, used, and distributed in
       the US

US Environmental Protection Agency
Office of Pesticide Programs
Antimicrobials Division
Regulatory Branch Chief                                            April, 1997-March, 2005
     Effectively directed and managed the regulatory and scientific review of all applications
       for the registration of antimicrobial (antibacterial) chemicals (agricultural, industrial,
       hospital, and homeowner use) within the jurisdiction of the branch.
     Supervised a diverse team of managers, scientists, regulators, and clerical staff.
     Through exemplary leadership met all Congressional deadlines and requirements
       according to federal laws and regulations (FIFRA, FQPA, FFDCA, RCRA, SDWA) for
       introducing safe and efficacious products into the US markets for use by hospitals and
       other major industrial institutions, farmers, and homeowners.

Registration Division
Product Manager                                                   February, 1995-April, 1997
    Managed the regulatory and scientific review of all applications for registration for
       chemicals for use on agricultural products in accordance to federal laws and regulations
       (FIFRA, FFDCA)
    Lead a diverse team of scientists, regulatory, and administrative staff
    As the subject matter expert, represented the Agency on all scientific and regulatory
       aspects regarding the use of pesticide chemicals within the jurisdiction of the team.

Registration Division
Acting Deputy Branch Chief                                          March, 1988-February, 1995
Team Leader
Chemist




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       Reviewed product chemistry data submitted in support of the registration/approval of
        chemicals and/or pesticide products for their conformance to US pesticide laws and
        regulations (FIFRA, FFDCA, TSCA).
       Managed the regulatory development of all pesticide inert ingredients and performed
        specialized analytical studies of significant pesticide issues.
       As a Team Leader, led a diverse group of chemists and clerical staff
       As the Deputy Branch Chief, supervised a diverse team of managers, scientists,
        regulators, and clerical staff.


OTHER RELATED EXPERIENCE
Valley Forge Christian College, Woodbridge, VA
Adjunct Professor                                                July, 2006- December, 2008

Christ Chapel Academy, Woodbridge, VA
Middle/High School Science Teacher                             August, 2006-June, 2007
    Taught Life Science, Physical Science, and Earth Science to 7th, 8th, and 9th grade
       students.


EDUCATION
Doctor of Ministry: Virginia Union University, Richmond, VA
Masters/Div cum laude: Virginia Union University, Richmond, VA
Bachelor of Science, Chemistry: Virginia State University, Petersburg, VA


HONORS/AWARDS
Bronze Medals for Commendable Service/(US EPA), Al Gore’s Vice Presidential Hammer
Award,
Special Act Awards, Outstanding Performance Awards, Letters of Commendation




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                         Exhibit B
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                        Dr. Connie Welch Materials Considered List

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2. Agricultural Biotechnology: A Look at Federal Regulation and Stakeholder Perspectives:
   Hearing Before the S. Comm. on Agric., Nutrition, & Forestry, 114th Cong. (Oct. 21,
   2015), https://www.agriculture.senate.gov/hearings/agriculture-biotechnology-a-look-at-
   federal-regulation-and-stakeholder-perspectives
3. Australian Pesticides and Veterinary Medicines Authority (APVMA), Regulatory
   Position: Consideration of the Evidence for a Formal Reconsideration of Glyphosate,
   Australian Government (2016).
4. Australian Pesticides and Veterinary Medicines Authority (APVMA), Final Regulatory
   Position: Consideration of the Evidence for a Formal Reconsideration of Glyphosate,
   Australian Government (2017).
5. BfR Press Release, BfR Contribution to the EU Approval Process of Glyphosate is
   Finalised (Apr. 2, 2015).
6. BfR Press Release, Does Glyphosate Cause Cancer? (Mar. 23, 2015).
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   (Dec. 18, 2013).
8. Campt, D., Inert Ingredients in Pesticide Products; Policy Statement; Revision and
   Modification of Lists, EPA (Oct. 10, 1989),
   https://www.epa.gov/sites/production/files/2015-10/documents/fr54.pdf
9. Data Requirements for Pesticides, 40 CFR Part 158 (2012).
10. Donliner, L. and M. Stewart, Decision Document: Pre-Harvest Use of Glyphosate
    Herbicide, Agriculture Canada (June 5, 1992).
11. ECHA, Opinion: Proposing harmonized classification and labelling at EU level of
    glyphosate (ISO); N-(phosphonomethyl)glycine, Committee for Risk Assessment RAC
    (Mar. 15, 2017).
12. EFSA, Conclusion on the Peer Review of the Pesticide Risk Assessment of the Active
    Substance Glyphosate at 2, EFSA Journal 2015;13(11):4302.
13. EFSA, EFSA Statement Regarding the EU Assessment of Glyphosate and the So-Called
    “Monsanto Papers” (June 8, 2017).
14. EPA, Cancer Assessment Review Committee, Cancer Assessment Document: Evaluation
    of the Carcinogenic Potential of Glyphosate Final Report (Oct. 1, 2015).
15. EPA, FIFRA SAP, Meeting Minutes and Final Report No. 2017-01 – A Set of Scientific
    Issues Being Considered by the Environmental Protection Agency Regarding: EPA’s
    Evaluation of the Carcinogenic Potential of Glyphosate (Mar. 16, 2017).
16. EPA, Glyphosate Final Work Plan (FWP) Registration Review Case No. 0178
    (December 2009).
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17. EPA, Glyphosate: Full Biography of Submitted Studies (Organized by Guideline
    Number) (Mar. 7, 2018), https://www.regulations.gov/document?D=EPA-HQ-OPP-2009-
    0361-0086
18. EPA, Memorandum from Theodore Farber, Ph.D. Chief, Toxicology Branch et al. on
    Consensus Review of Glyphosate Caswell No. 661A to Robert Taylor, Product Manager,
    Herbicide – Fungicide Branch, Registration Division (Mar. 4, 1985).
19. EPA, Memorandum from Stephen L. Johnson, Executive Secretary, FIFRA Scientific
    Advisory Panel on Transmittal of the Final FIFRA Scientific Advisory Panel Reports on
    the February 11-12, 1986 Meeting to Steven Schatzow, Director, Office of Pesticide
    Programs (Feb. 24, 1986).
20. EPA, Memorandum from William Dykstra, Reviewer, Toxicology Branch, Health
    Effects Division on Glyphosate – EPA Registration Nos. 524-318 and 524-333 –
    Historical Control Data for Mouse Kidney Tumors to Robert J. Taylor, Fungicide-
    Herbicide Branch, Registration Division (June 19, 1989).
21. EPA, Memorandum from William Dykstra, Ph.D., Toxicology Branch, Health Effects
    Division, and George Z. Ghali. Ph.D., Science Analysis and Coordination Branch, Health
    Effects Division, on Second Peer Review of Glyphosate to Robert Taylor, PM,
    Fungicide-Herbicide Branch, Registration Division and Lois Rossi, Chief, Reregistration
    Branch, Special Review and Reregistration Division (Oct. 30, 1991).
22. EPA, Memorandum from William Dykstra, Toxicologist, Registration Action Branch 1,
    Health Effects Division and Jess Rowland, Executive Secretary, Health Effects Division
    on Glyphosate – Report of the Hazard Identification Assessment Review Committee to
    Melba Morrow, Branch Senior Scientist, Registration Action Branch 1, Health Effects
    Division (Apr. 20, 1998).
23. EPA, Memorandum from Gregory Akerman, Ph.D. and Monique M. Perron, Sc.D.,
    Health Effects Division on Response to the Final Report of the Federal Insecticide,
    Fungicide, and Rodenticide Act Scientific Advisory Panel (FIFRA SAP) on the
    Evaluation of the Human Carcinogenic Potential of Glyphosate to Caitlin Newcamp and
    Neil Anderson, Pesticide Reevaluation Division (Dec. 12, 2017).
24. EPA, Memorandum from Ashlee Alridge, MPH, Epidemiologist, Toxicology
    Epidemiology Branch (TEB), HED on Summary Review of Recent Analysis of
    Glyphosate Use and Cancer Incidence in the Agricultural Health Study to Monique M.
    Perron, Sc.D., Toxicologist, Risk Assessment Branch 1 (RAB1), HED (Dec. 12, 2017).
25. EPA, Office of Chemical Safety & Pollution Prevention, Final Test Guidelines for
    Pesticides and Toxic Substances (2016), https://www.epa.gov/test-guidelines-pesticides-
    and-toxic-substances/final-test-guidelines-pesticides-and-toxic
26. EPA, Office of Health and Environmental Assessment, The Risk Assessment Guidelines
    of 1986 (Aug. 1987).
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    Potential (Sept. 12, 2016).
29. EPA, Office of Pesticide Programs, Revised Glyphosate Issue Paper: Evaluation of
    Carcinogenic Potential (Dec. 12, 2017).
30. EPA, Office of Pesticide Programs, Guidance for Considering and Using Open
    Literature Toxicity Studies to Support Human Health Risk Assessment (Aug. 28, 2012).
31. EPA, Office of Pesticide Programs, Office of Pesticide Programs’ Framework for
    Incorporating Human Epidemiologic & Incident Data in Risk Assessments for Pesticides
    (Dec. 28, 2016).
32. EPA, Office of Pesticide Programs, PR Notice 98-3 & Attachment: Guidance on Final
    FIFRA 6(a)(2) Regulations for Pesticide Product Registrants (Apr. 3, 1998),
    https://www.epa.gov/sites/production/files/2014-04/documents/pr98-3.pdf
33. EPA, Office of Pesticide Programs, Pesticide Registration Manual: Chapter 8 – Inert
    Ingredients (2017), https://www.epa.gov/pesticide-registration/pesticide-registration-
    manual
34. EPA, Office of Pesticides and Toxic Substances, Enforcement Response Policy for the
    Federal Insecticide, Fungicide, and Rodenticide Act Good Laboratory Practice (GLP)
    Regulations (Sept. 30, 1991).
35. EPA, Office of Prevention, Pesticides and Toxic Substances, Alkyl Alcohol Alkoxylate
    Phosphate and Sulfate Derivatives (AAAPDs and AAASDs – JITF CST 2 Inert
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    Requirement of a Tolerance When Used as an Inert Ingredient in Pesticide Formulations
    (June 8, 2009).
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    Alkoxylates (AAA – JITF CST 1 Inert Ingredient). Human Health Risk Assessment to
    Support Proposed Exemption from Requirement of a Tolerance When Used as an Inert
    Ingredient in Pesticide Formulations (July 14, 2009).
37. EPA, Office of Prevention, Pesticides and Toxic Substances, Alkyl Amine
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    final (Jan. 21, 2002).
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50. Glyphosate; Pesticide Tolerances, 62 Fed. Reg. 17,723, 17,730 (Apr. 11, 1997) (to be
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53. Glyphosate; Pesticide Tolerances, 73 Fed. Reg. 73,586, 73,592 (Dec. 3, 2008) (to be
    codified as 40 C.F.R. pt. 180).
54. Glyphosate; Pesticide Tolerances, 78 Fed. Reg. 25,396, 25,401 (May 1, 2013) (to be
    codified 40 C.F.R. pt. 180).
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    Technical) In Mice (July 21, 1983).
63. Labeling Requirements for Pesticides and Devices, 40 CFR Part 156 (2010).
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65. Letter from Robert J. Taylor, Product Manager, Fungicide-Herbicide Branch,
    Registration Division on Roundup EPA Reg. No. 524-308 Your Application of
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66. Letter from L.H. Hannah, Manager Product Registration, Monsanto Co. on Roundp ®
    Pesticide Petition Nos. 5F1560, 6F1733, 6H5115, 6F1756, 6H5126, 6F1798, 6E1809,
    6F1861, 6H5144, 7F1982, 7F1904 and 7F2016 EPA Reg. No. 524-308 to Edward
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    Co. on Chronic Mouse Study with Glyphosate to Robert Taylor, Product Manager,
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    Compliance, U.S. EPA on Good Laboratory Practice Standards Inspection of September
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69. Meetings and communications, 40 CFR §155.30 (1996).
70. Mensink, H. & P. Janssen, Environmental Health Criteria 159: Glyphosate, International
    Programme on Chemical Safety, World Health Organization (1994).
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   74. Stout, L. & F. Ruecker, Chronic Study of Glyphosate Administered in Feed to Albino
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   75. Subpart D – Product Chemistry, 72. Fed. Reg. 60,969, 60,971 (Oct. 26, 2007) (to be
       codified at 40 C.F.R. pt. 158.310).
   76. Subpart D – Reporting Requirements for Risk/Benefit Information, 40 CFR. §159.152 -
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   77. Subpart F – Toxicology, 72 Fed. Reg. 60,975, 60,978 (Oct. 26, 2007) (to be codified at
       40 C.F.R. pt. 158.500).
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   81. What information must be submitted, 40 CFR §15.158 (2012).
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Other Documents Reviewed:
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      for Glyphosate in Drinking Water (June 2007).
   2. Email from Steven Levine to Donna Farmer re: Issuance of glyphosate Test Orders for
      the EDSP (Jan. 16, 2010, 18:52 CST) [MONGLY02162507-08].
   3. Email from William Heydens to Charles Healy re: TNO dermal penetration studies: new
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   4. Email from Stephen Wratten to Charles Healy et al. re: TNO dermal penetration studies
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   5. Email from Fabrice Broeckaert to Donna Farmer re: TNO Draft reports (Aug. 21, 2002)
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   6. Email from William Heydens to ldkier@ix.netcom.com re: meeting Prof Parry 15 Feb
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   7. Email from William Heydens to Daniel Jenkins re: EPA Folks going to IARC (Feb. 20,
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11. Email from Jess Rowland to Danelle Lobdell re: One more nag… (Sept. 21, 2015).
12. Email from Thomas Burke to Kathleen Deener re: Issue (May 3, 2016).
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